Case 2:13-cv-01847-SJO-JEM Document 169 Filed 08/18/15 Page 1 of 17 Page ID #:2460




      1   Peter L. Carr, IV (SBN 256104)                Jamon Hicks (SBN 232747)
      2
          Na’Shaun L. Neal (SBN 282480)                 DOUGLAS|HICKS, LLP
          SIAS | CARR, LLP                              8484 Wilshire Blvd, Suite 548
      3   9701 Wilshire Blvd., 10th Fl. #282            Beverly Hills, California 90211-3234
      4   Beverly Hills, California 90212               Telephone: (323) 655-6505
          Telephone: (310) 400-5890                     Facsimile: (323) 651-4990
      5   Facsimile: (323) 400-5895                     jamon@douglashickslaw.com
      6   pcarr@siascarr.com
          nneal@siascarr.com
      7
      8   Attorneys for Plaintiffs Johnnie Howard,
          Sr., Angela Nishikawa and Leseante
      9
          Square
     10   V. James DeSimone (SBN 119668)                Lisa Holder (SBN 212628)
          Kaveh Navab (SBN 280335)                      LAW OFFICE OF LISA HOLDER
     11
          SCHONBRUN DESIMONE SEPLOW                     P.O. Box 65694
     12   HARRIS & HOFFMAN LLP                          Los Angeles, California 90065
          723 Ocean Front Walk                          Telephone: (323) 683-6610
     13
          Venice, California 90291-3270                 lisaholder@yahoo.com
     14   Telephone: (310) 396-0731
     15   Facsimile: (310) 399-7040
          vjdesimone@gmail.com
     16   knavab.sdshh@gmail.com
     17
          Attorneys for Plaintiffs Tushana Howard,
     18   Tawny Howard, Taneya Howard, Vachel
          Howard, Jr. and Skye Howard
     19
          GREGORY A. YATES (SBN-63259)
     20   LAW OFFICES OF GREGORY A. YATES
          A Professional Corporation
     21
          16830 Ventura Blvd #250
     22   Encino, CA 91436
          Phone: (310) 858-6944
     23   Fax: (818) 905-7038
     24
          Attorneys for Plaintiff IRMA HOWARD
     25
     26
     27
     28


                                                      -1-
           PLAINTIFFS’ NOTICE OF JOINT MOTION AND JOINT MOTION IN LIMINE NO. 2 TO EXCLUDE IMPROPER
                                              EXPERT TESTIMONY
Case 2:13-cv-01847-SJO-JEM Document 169 Filed 08/18/15 Page 2 of 17 Page ID #:2461




      1                      UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
      2
      3   TUSHANA HOWARD, TAWNY                     CASE NO.: CV 13-01847 SJO
          HOWARD, TANEYA HOWARD,                    (JEMx)
      4   VACHEL JOWARD, JR., and SKYE              c/w: 14-CV-02781 SJO (JEMx)
      5   HOWARD, SR., individually and as          c/w: CV 14-03423 SJO(JEMx).
          successors-in-interest of VACHEL
      6   HOWARD and, JOHNNIE HOWARD,               PLAINTIFFS’ NOTICE OF
          SR., in his individual capacity,          JOINT MOTION AND JOINT
      7                                             MOTION IN LIMINE NO. 2 TO
      8                 Plaintiffs,                 EXCLUDE IMPROPER EXPERT
                 vs.                                TESTIMONY MEMORANDUM
      9                                             OF POINTS AND AUTHORITIES
          CITY OF LOS ANGELES, Police               IN SUPPORT THEREOF
     10   Officer Richard Fox, Police Officer       Pre-Trial Conference:
          Maryann Bunag, Detention Officer          Date: 09/14/2015
     11
          Juan Romero, individually, Police
                                                    Time: 9:00 am
     12   Chief CHARLIE BECK, in his
          individual and official capacity,         Ctrm.: 1
     13
                        Defendants.                 Trial Date: September 22, 2015
     14
          CONSOLIDATED ACTIONS
     15   ______________________________

     16   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:
     17         PLEASE TAKE NOTICE that on September 14, 2015, at 9:00 a.m., or as
     18   soon thereafter as this matter may be heard in Courtroom 1 (Spring Street) of the
     19   above-entitled Court, Plaintiffs will and hereby do move the Court by way of this
     20   Motion In Limine No. 2 To Exclude Improper Expert Testimony at the trial of this
     21   matter. Plaintiffs make this Motion under Federal Rules of Evidence 403, 611, 701
     22   and 702, and under Fed. R. Civ. P. 37(c).
     23         Statement of Local Rule 7-3 Compliance: This motion is made following
     24   the meet and confer conference between counsel for Plaintiffs and Defendants,
     25   during which no resolution could be reached.
     26         This Motion is based on this Notice of Motion, the Memorandum of Points
     27   and Authorities, the records and files of this Court, Declaration of Gregory A.
     28


                                                      -2-
           PLAINTIFFS’ NOTICE OF JOINT MOTION AND JOINT MOTION IN LIMINE NO. 2 TO EXCLUDE IMPROPER
                                              EXPERT TESTIMONY
Case 2:13-cv-01847-SJO-JEM Document 169 Filed 08/18/15 Page 3 of 17 Page ID #:2462




      1
          Yates, and upon such other oral and documentary evidence as may be presented at
      2
          the time of the hearing.
      3                                     Respectfully Submitted,
                                            LAW OFFICES OF GREGORY A. YATES, P.C.
      4                                     16830 Ventura Blvd., # 250
      5                                     Encino, California 91436
                                            Tel: (310) 858-6933;
      6                                     Fax: (818) 905-7038

      7                                            /s/
                                            By: __________________________
      8
                                            Gregory A. Yates
      9                                     COUNSEL FOR PLAINTIFF IRMA HOWARD

     10
     11
     12
     13
     14
     15
     16
     17
     18
     19
     20
     21
     22
     23
     24
     25
     26
     27
     28


                                                      -3-
           PLAINTIFFS’ NOTICE OF JOINT MOTION AND JOINT MOTION IN LIMINE NO. 2 TO EXCLUDE IMPROPER
                                              EXPERT TESTIMONY
Case 2:13-cv-01847-SJO-JEM Document 169 Filed 08/18/15 Page 4 of 17 Page ID #:2463




      1
      2                                               TABLE OF CONTENTS
      3
            I.     INTRODUCTION ............................................................................................................ 6
      4
            II.    FED. R. CIV. P. 37 PRECLUDES A PARTY FROM USING AT TRIAL
      5
                  INFORMATION NOT PREVIOUSLY DISCLOSED .................................................... 6
      6
            III. FED. R. EV. 702 REQUIRES AN EXPERT BE QUALIFIED AND THE OPINION
      7
                  GIVEN BE RELIABLE..................................................................................................... 9
      8
            IV. FED. R. EV. 403 ALLOWS THE COURT TO EXCLUDE CUMULATIVE
      9
                  TESTIMONY .................................................................................................................. 11
     10
            V. EXPERT OPINIONS ON THE ULTIMATE ISSUES OF THE REASONABLENESS
     11
                  OF THE USE OF FORCE AND COCAINE INDUCED BEHAVIOR PROVOKED
     12
                  POLICE OFFICERS DO NOT ASSIST THE TRIER OF FACT AND ARE A WASTE
     13
                  OF TIME.......................................................................................................................... 14
     14
            VI. CONCLUSION................................................................................................................. 17
     15
     16
     17
     18
     19
     20
     21
     22
     23
     24
     25
     26
     27
     28


                                                     -4-
          PLAINTIFFS’ NOTICE OF JOINT MOTION AND JOINT MOTION IN LIMINE NO. 2 TO EXCLUDE IMPROPER
                                             EXPERT TESTIMONY
Case 2:13-cv-01847-SJO-JEM Document 169 Filed 08/18/15 Page 5 of 17 Page ID #:2464




      1   Federal Cases

      2   Abrams v. Ciba Specialty Chemicals Corp., No. CIV.A. 08-0068-WS-B, 2010 WL 779283, at

      3      *4-5 (S.D. Ala. Mar. 2, 2010)..................................................................................................... 9

      4   Aguilar v. Int'l Longshoremen's Union Local No. 10, 966 F.2d 443, 447 (9th Cir.1992)............ 16

      5   Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589-90 (1993) ............................................. 6
      6   First Nat'l Bank of Louisville v. Lustig, 96 F.3d 1554, 1574-75 (5th Cir.1996).......................... 11

      7   Goodman v. Staples The Office Superstore, LLC, 644 F. 3d 817 (9th Cir. 2011 .......................... 7

      8   McHugh v. United Serv. Auto. Ass'n, 164 F.3d 451, 454 (9th Cir. 1999) ................................... 16

      9   Shahid v. City of Detroit, 889 F. 2d 1543 (6th Cir. 1989);........................................................... 16
     10   TK-7 Corp. v. Estate of Barbouti, 993 F.2d 722, 732 (10th Cir.1993)........................................... 9
     11   Tran v. Toyota Motor Corp., 420 F.3d 1310, 1315 (11th Cir.2005)............................................. 11

     12   U.S. v. Dukagjini, 326 F. 3d 45, 56-62 (2d Cir. 2003) ............................................................... 7, 8

     13   United States v. Barnard, 490 F. 2d 907, 912-13 (9th Cir. 1973)................................................. 16

     14   United States v. Duncan, 42 F.3d 97, 101 (2nd Cir. 1994)........................................................... 16
     15   United States v. Frazier, 387 F.3d 1244, 1263 (11th Cir.2004).................................................... 11
     16   United States v. Proctor & Gamble Co., 356 U.S. 677, 682 (1958). .............................................. 7

     17   US v. Freeman, 498 F. 3d 893, 901-905 (9th Cir. 2007 ................................................................. 8

     18   Federal Rules
     19   F.R.E. 702 ................................................................................................................................. 9, 16
     20   F.R.E. 703 ....................................................................................................................................... 7
     21   F.R.E. 704, Advisory Committee Notes ....................................................................................... 15
     22
          Fed. R. Civ. P. Rule 26(a)(2) .......................................................................................................... 7
     23   Fed. R. Civ. P. Rule 26(a)(4) .......................................................................................................... 7
     24
          Fed. R. Civ. P. Rule 37(c)(1) .......................................................................................................... 7
     25   Fed. R. Ev. 611 ............................................................................................................................. 11
     26
          Fed. R. Ev. 701 ............................................................................................................................... 6
     27
     28


                                                      -5-
           PLAINTIFFS’ NOTICE OF JOINT MOTION AND JOINT MOTION IN LIMINE NO. 2 TO EXCLUDE IMPROPER
                                              EXPERT TESTIMONY
Case 2:13-cv-01847-SJO-JEM Document 169 Filed 08/18/15 Page 6 of 17 Page ID #:2465




      1                        MEMORANDUM OF POINTS AND AUTHORITIES
                                               I.
      2                                  INTRODUCTION
      3
                 This matter arises from an in custody death that occurred on June 4, 2012. Plaintiffs’
      4
          father and son, Vachel Howard, was placed in an out of policy choke hold by Defendant Romero
      5
          and asphyxiated. Plaintiff brought a §1983 action alleging that the use of deadly force by Officer
      6
          Romero was unjustified, unreasonable and excessive under the circumstances.
      7
                 Defendant has designated five (5) experts in this case: Dr. Richard F. Clark, Dr. Mark
      8
          Eckstein, Richard Fonzi, Dr. Steven B. Karch, and Dr. William Oliver. By this motion, plaintiff
      9
          seeks to exclude expert testimony by any other witness, unqualified expert testimony, cumulative
     10
          expert testimony and confusing expert testimony.
     11
                 Expert opinions may be excluded where based on improper matter. Daubert v. Merrell
     12
          Dow Pharm., Inc., 509 U.S. 579, 589-90 (1993).
     13
                                               II.
     14
            FED. R. CIV. P. 37 PRECLUDES A PARTY FROM USING AT TRIAL INFORMATION
     15                             NOT PREVIOUSLY DISCLOSED

     16
                 Fed. R. Ev. 701 provides that
     17
                 “If the witness is not testifying as an expert, the witness' testimony in the form of
     18
                 opinions or inferences is limited to those opinions or inferences which are (a)
     19
                 rationally based on the perception of the witness, and (b) helpful to a clear
     20
                 understanding of the witness' testimony or the determination of a fact in issue, and (c)
     21
                 not based on scientific, technical, or other specialized knowledge within the scope of
     22
                 Rule 702.”
     23
                 Under Fed. R. Civ. P. Rule 26(a)(2), a party must timely designate experts by furnishing
     24
          information requested in that rule, including “a complete statement of all opinions to be
     25
          expressed and the basis and reasons therefor; the data or other information considered by the
     26
          witness in forming the opinions; any exhibits to be used as a summary of or support for the
     27
     28


                                                      -6-
           PLAINTIFFS’ NOTICE OF JOINT MOTION AND JOINT MOTION IN LIMINE NO. 2 TO EXCLUDE IMPROPER
                                              EXPERT TESTIMONY
Case 2:13-cv-01847-SJO-JEM Document 169 Filed 08/18/15 Page 7 of 17 Page ID #:2466




      1   opinions.” Rule 26(a)(4) provides that “[a] party may depose any person who has been identified

      2   as an expert whose opinions may be presented at trial.”

      3          Fed. R. Civ. P. Rule 37(c)(1) provides, in pertinent part, that,

      4          “A party that without substantial justification fails to disclose information required by

      5          Rule 26(a) or 26(e)(1), or to amend a prior response to discovery as required by Rule

      6          26(e)(2), is not, unless such failure is harmless, permitted to use as evidence at a trial,

      7          at a hearing, or on a motion any witness or information not so disclosed...”

      8          New expert opinions by non-designated experts will subject plaintiff to prejudice in that

      9   plaintiff was not allowed to fully depose these witnesses on their expert opinions and plaintiff

     10   will be subject to surprise testimony.

     11          The purpose of the discovery rules is to “make a trial less a game of blind man's bluff and

     12   more a fair contest with the basic issues and facts disclosed to the fullest practical extent.”

     13   United States v. Proctor & Gamble Co., 356 U.S. 677, 682 (1958). These rules are intended to

     14   minimize unfair surprise and undue expense. Accordingly, defendant should not be permitted to

     15   offer expert opinion by non-designated experts.

     16          It is anticipated that Defendants will attempt to offer expert testimony of officers and

     17   other witnesses by claiming they are non-designated percipient expert witnesses that are

     18   qualified to explain complex subjects such as police procedure and training and the cause of Mr.

     19   Howard’s death. It is also anticipated that Defendants will attempt to elicit hearsay testimony

     20   from such percipient witnesses. Such testimony is improper under the federal rules. While

     21   percipient witnesses are not required to provide an expert report, they are required to be

     22   disclosed. See F.R.C.P. 26(a)(2). See also Goodman v. Staples The Office Superstore, LLC, 644

     23   F. 3d 817 (9th Cir. 2011)(finding that percipient witness testimony that goes beyond a factual

     24   explanation into opinion testimony is subject to the report requirement in Rule 26(a)(2)(B)).

     25          Any witnesses that were not identified as experts by Defendant should be precluded from

     26   testifying to ultimate issue opinions, unsupported speculation in the guise of expert opinion, and

     27   hearsay because only experts can offer such testimony. See F.R.E. 703. See also U.S. v.

     28   Dukagjini, 326 F. 3d 45, 56-62 (2d Cir. 2003) (to the extent that an investigating agent, who was


                                                      -7-
           PLAINTIFFS’ NOTICE OF JOINT MOTION AND JOINT MOTION IN LIMINE NO. 2 TO EXCLUDE IMPROPER
                                              EXPERT TESTIMONY
Case 2:13-cv-01847-SJO-JEM Document 169 Filed 08/18/15 Page 8 of 17 Page ID #:2467




      1   testifying as an expert witness, was relying on and disclosing out of court inadmissible hearsay

      2   that was obtained through the course of his investigation, the witness exceeded the scope of his

      3   expertise and that testimony should not have been admitted.). Further, use of involved and

      4   investigating officers as experts should be scrutinized because they have a higher likelihood of

      5   straying from reliable methodology into conclusory assertions. See e.g. Dukagjini, 326 F.3d at

      6   54-56 (stating: “when the prosecution uses a case agent as an expert, there is an increased danger

      7   that the expert testimony will stray from applying reliable methodology and convey to the jury

      8   the witness's ‘sweeping conclusions’ about appellants' activities, deviating from the strictures of

      9   Rules 403 and 702.”). See also US v. Freeman, 498 F. 3d 893, 901-905 (9th Cir. 2007)(following

     10   Dukagjini and finding it was error to allow certain testimony by an investigating agent). The

     11   dangers associated with percipient witnesses risks damage to due process in this case resulting

     12   from the failure to designate such witnesses as expert witnesses and disclose their expected

     13   testimony under Rule 26(a)(2) because Plaintiff will be prevented from preparing to rebut such

     14   testimony. See Proctor & Gamble Co., 356 U.S. at 682.

     15          Robert Fonzi is expected to rely on the conclusion of Officer Fox, purportedly a drug

     16   recognition expert, and Nurse Rowe as to whether Vachel Howard was on drugs at the time of

     17   his arrest. Neither Officer Fox nor Nurse Rowe have been designated drug recognition experts.

     18   In his preliminary report, Fonzi states: “Officer Fox, who is a department DRE (drug recognition

     19   expert), noticed that Howard displayed objective symptoms that were consistent with an

     20   individual being under the influence of PCP (phencyclidine) or cocaine.” (See Report of Robert

     21   Fonzi (“Fonzi Report”), attached as Ex 1 to Decl. of Gregory A. Yates (“Decl. Yates”), p. 4).

     22   Fonzi later states: “Nurse Rowe observed and noted that Howard appeared to be hallucinating

     23   and in her opinion, was under the influence of either PCP, cocaine or methamphetamines.” Id at

     24   p. 5. Fonzi then concludes: “Based on my review of the mentioned materials and statements, it is

     25   my preliminary opinion that the actions of the officers involving Howard and his obvious

     26   narcotic intoxication was appropriate, reasonable, and consistent with standard jail and police

     27   standards and training.” Id. An expert relying on the opinion of a purported undesignated expert

     28   must demonstrate that it is reliable and not an attempt to circumvent the rules of evidence. See


                                                      -8-
           PLAINTIFFS’ NOTICE OF JOINT MOTION AND JOINT MOTION IN LIMINE NO. 2 TO EXCLUDE IMPROPER
                                              EXPERT TESTIMONY
Case 2:13-cv-01847-SJO-JEM Document 169 Filed 08/18/15 Page 9 of 17 Page ID #:2468




      1   e.g. TK-7 Corp. v. Estate of Barbouti, 993 F.2d 722, 732 (10th Cir.1993); Abrams v. Ciba

      2   Specialty Chemicals Corp., No. CIV.A. 08-0068-WS-B, 2010 WL 779283, at *4-5 (S.D. Ala.

      3   Mar. 2, 2010) . In this case, Officer Fox and Nurse Rowe, as undesignated experts, cannot give

      4   opinion testimony and, therefore, the expected testimony of Fonzi as to these witnesses

      5   conclusions, as opposed to their observations, is an attempt to circumvent Rule 26.

      6          Similarly, Fonzi is expected to communicate the opinion rendered as a result of the

      7   District Attorney investigation. The District Attorney has not been designated as an expert and,

      8   therefore, Fonzi’s testimony is simply an attempt to circumvent the bar against hearsay and

      9   disclose an otherwise irrelevant and inadmissible opinion cloaked in the air of an official

     10   position.

     11          Plaintiff requests that undisclosed expert testimony be excluded.

     12                                       III.
          FED. R. EV. 702 REQUIRES AN EXPERT BE QUALIFIED AND THE OPINION GIVEN BE
     13                                    RELIABLE
     14
                 Fed. R. Ev. 702 provides:
     15
                 A witness who is qualified as an expert by knowledge, skill, experience, training, or
     16
                 education may testify in the form of an opinion or otherwise if:
     17
                 (a) the expert’s scientific, technical, or other specialized knowledge will help the trier
     18
                 of fact to understand the evidence or to determine a fact in issue;
     19
                 (b) the testimony is based on sufficient facts or data;
     20
                 (c) the testimony is the product of reliable principles and methods; and
     21
                 (d) the expert has reliably applied the principles and methods to the facts of the case.
     22
          F.R.E. 702.
     23
                 It is expected that certain lay witnesses, including defendants Fox, Bunag, and Romero
     24
          will offer testimony that Vachel Howard had “super human strength,” was as strong as “the
     25
          hulk,”or was suffering from psychosis. The terms super human strength and hulk are unhelpful,
     26
          meaningless, subjective, descriptions. More specifically these metaphors are highly prejudicial
     27
          with no probative value. Moreover, opinions regarding Mr. Howard’s mental state require
     28


                                                      -9-
           PLAINTIFFS’ NOTICE OF JOINT MOTION AND JOINT MOTION IN LIMINE NO. 2 TO EXCLUDE IMPROPER
                                              EXPERT TESTIMONY
Case 2:13-cv-01847-SJO-JEM Document 169 Filed 08/18/15 Page 10 of 17 Page ID
                                 #:2469




   1   specialized knowledge, skill, experience, training or education. The witnesses expected to offer

   2   this testimony have not been designated as experts and are not qualified under Rule 702 to offer

   3   such testimony.

   4           It is also expected Defendants will attempt to establish through expert testimony that

   5   Vachel Howard was a chronic drug user. However, Defendants’ experts have testified they do

   6   not have enough information to ascertain whether Vachel had used cocaine for a prolonged

   7   period and therefore, any mention of chronic drug use is unreliable opinion testimony. See

   8   Deposition of Dr. Richard F. Clark (“Dep. Clark”), attached as Ex. 2 to Decl. Yates, ll. 45:3-

   9   48:11. Dr. Clark, a toxicologist, testified:

  10           A     Well, the only way, in my perspective, as an expert in toxicology, that one can come

  11           to the conclusion of someone being a chronic user is a history. And if I get a history

  12           somewhere in the records that he uses cocaine on a daily basis, that usually signifies

  13           chronic use.

  14           But I think you're correct that from one given blood level, it's hard for me to say

  15           that….

  16   Dep. Clark 45:9-16. Dr. Clark admitted that the duration of use could not be stated with medical

  17   certainty given blood levels. Id at 46:6-7. Dr. Karch, a forensic pathologist testified that he could

  18   provide an opinion as to chronic use with certainty if a hair sample had been taken or if special

  19   heart testing had been done. See Deposition of Steven B. Karch (“Dep. Karch”), attached as Ex.

  20   3 to Decl. Yates, ll. 92:12-95:11. However, there was no hair sample and the special heart test

  21   was not performed. Karch claimed that the toxicological results from Vachel’s blood indicated a

  22   built up tolerance but admitted that tolerance builds up quickly. See id at 100:19-101:15, 101:23-

  23   102:8. Defendants have admitted that the opinion that Vachel was a chronic user is scientifically

  24   unreliable.

  25           Plaintiff requests that unqualified and unreliable testimony be excluded.

  26   ///

  27   ///

  28   ///


                                                  -10-
        PLAINTIFFS’ NOTICE OF JOINT MOTION AND JOINT MOTION IN LIMINE NO. 2 TO EXCLUDE IMPROPER
                                           EXPERT TESTIMONY
Case 2:13-cv-01847-SJO-JEM Document 169 Filed 08/18/15 Page 11 of 17 Page ID
                                 #:2470




   1                                       IV.
          FED. R. EV. 403 ALLOWS THE COURT TO EXCLUDE CUMULATIVE TESTIMONY
   2
   3          The court has the authority to limit the number of witnesses that are called by a party to
   4   testify to a specific point. Fed. R. Ev. 403 Provides:
   5          The court may exclude relevant evidence if its probative value is substantially
   6          outweighed by a danger of one or more of the following: unfair prejudice, confusing
   7          the issues, misleading the jury, undue delay, wasting time, or needlessly presenting
   8          cumulative evidence.
   9   F.R.E. 403. Further, Fed. R. Ev. 611 states that, “The court should exercise reasonable control
  10   over the mode and order of examining witnesses and presenting evidence so as to ... [a]void
  11   wasting time ...” See also Tran v. Toyota Motor Corp., 420 F.3d 1310, 1315 (11th Cir.2005)
  12   (affirming district court's exclusion of cumulative expert testimony at trial, where excluded
  13   expert relied on same evidence that testifying expert did, would have testified on same issues,
  14   had similar qualifications, and would not have added different information); United States v.
  15   Frazier, 387 F.3d 1244, 1263 (11th Cir.2004) (“Exclusion under Rule 403 is appropriate ... if the
  16   expert testimony is cumulative or needlessly time consuming”) (citations omitted); First Nat'l
  17   Bank of Louisville v. Lustig, 96 F.3d 1554, 1574–75 (5th Cir.1996) (district court did not abuse
  18   discretion in excluding as cumulative expert's testimony that would have covered the same
  19   ground as that of testifying witness).
  20          In this case, it is anticipated that Defendants’ expert witnesses may attempt to address the
  21   same issues. Specifically, Defendant has designated four experts on the issue of the manner and
  22
       cause of the death of Vachel Howard, Dr. Richard F. Clark, Dr. Mark Eckstein, Dr. Steven B.
  23
       Karch, and Dr. William Oliver. Essentially, these experts are piling on by testifying to the exact
  24
       same medical conclusion. Such cumulative, duplicative testimony is improper and should be
  25
  26   limited.

  27          To the extent that these experts attempt to revisit the subject of testimony of their fellow
  28


                                                  -11-
        PLAINTIFFS’ NOTICE OF JOINT MOTION AND JOINT MOTION IN LIMINE NO. 2 TO EXCLUDE IMPROPER
                                           EXPERT TESTIMONY
Case 2:13-cv-01847-SJO-JEM Document 169 Filed 08/18/15 Page 12 of 17 Page ID
                                 #:2471




   1   experts on the point, it is unnecessarily cumulative. Each of Defendants’ four medical experts

   2   has opined that Vachel’s heart condition, combined with cocaine use, caused his death. Dr.
   3
       Karch opined in his report:
   4
              1. The decedent had a markedly enlarged heart, placing him at risk for sudden death.
   5
              2. The decedent had myocardial scarring, probably as a consequence of longterm cocaine
   6
   7          abuse, again placing him at risk for sudden death.

   8          3. In addition to restricting blood flow, fibrosis (scars) located between the individual
   9          heart muscle cells disrupt the normal pattern of electrical signaling in the heart and can
  10
              cause sudden cardiac death.
  11
              4. I believe with a high degree of medical certainty that pre-existing cardiovascular heart
  12
              disease, secondary to chronic, long-term, cocaine abuse, was the cause of death.
  13
  14   Report of Dr. Steven B. Karch dated 12/17/13 (“Karch Report”), attached as Ex. 4 to Decl.

  15   Yates, p. 9. Dr. Clark provided an identical opinion:
  16          11. During this excited delirium, subjects are also at risk for sudden death. This sudden
  17
              death syndrome can occur while the victim is in custody, in a jail cell, on a hospital or
  18
              ambulance gurney, or involved in some other activity such as dancing at a party. The
  19
  20          mechanism of the sudden death syndrome is unclear, but has been suggested to be from

  21          either an irregular heart rhythm or a seizure, resulting from a combination of effects,

  22          including electrolyte (chemical) abnormalities, elevated body temperature, and elevated
  23
              adrenaline levels in the body (caused to be released into the body by the drug). These
  24
              effects act synergistically with the drug on the body. The most common electrolyte
  25
              abnormalities in patients with these excited delirium states and extreme struggles are
  26
  27          elevations in potassium, and increased acidity of the blood (i.e. "metabolic acidosis").

  28


                                                  -12-
        PLAINTIFFS’ NOTICE OF JOINT MOTION AND JOINT MOTION IN LIMINE NO. 2 TO EXCLUDE IMPROPER
                                           EXPERT TESTIMONY
Case 2:13-cv-01847-SJO-JEM Document 169 Filed 08/18/15 Page 13 of 17 Page ID
                                 #:2472




   1         Both of these electrolyte disorders can cause the heart to be more susceptible to

   2         potentially lethal irregular rhythms, such as ventricular tachycardia or fibrillation. Either
   3
             a seizure or an irregular heart rate can lead to cardiac arrest. Many times, once these
   4
             subjects deteriorate from the rapid heart rate (ventricular tachycardia) into cardiac arrest,
   5
             they go into a slower "agonal" or pre-death heart rhythm (eventually no rhythm, called
   6
   7         asystole) and cannot be resuscitate, even when the cardiac arrest is a witnessed event in

   8         front of paramedics, nurses, physicians, or other health care providers. The difficulty in
   9         their resuscitation may be the result of many things, including a high potassium level in
  10
             the blood or a metabolic acidosis caused by the agitation or seizure, and can be
  11
             complicated by the effects of the drug. This scenario is what was described in the cardiac
  12
             arrest and eventual death of Mr. Howard. In his particular case, he was witnessed to be
  13
  14         struggling violently, paranoid, hallucinating and fighting police seconds or minutes prior

  15         to his witnessed cardiac and respiratory arrest. His struggle with police could have
  16         resulted in a metabolic acidosis of his blood, a condition that caused his heart to be more
  17
             susceptible to the toxic effects of cocaine, and more likely to have an irregular heart
  18
             rhythm and cardiac arrest. In addition, Mr. Howard was found at autopsy to have several
  19
  20         areas of narrowing of his cardiac blood vessels (atherosclerosis). These narrowed

  21         segments could have restricted blood flow to his heart in times of extreme stress, such as

  22         during his struggle with police. Cocaine has been well proven to further constrict the
  23
             blood vessels of the heart, leading to even greater restriction to blood flow to heart
  24
             muscle. This low blood flow state, combined with the actions of cocaine on the
  25
             conduction of impulses of the heart could have led to an irregular heart rhythm,
  26
  27         culminating in the cardiac arrest.

  28


                                                  -13-
        PLAINTIFFS’ NOTICE OF JOINT MOTION AND JOINT MOTION IN LIMINE NO. 2 TO EXCLUDE IMPROPER
                                           EXPERT TESTIMONY
Case 2:13-cv-01847-SJO-JEM Document 169 Filed 08/18/15 Page 14 of 17 Page ID
                                 #:2473




   1          12. Based on my knowledge of this case and the disciplines of Medical Toxicology and

   2          Emergency Medicine, I believe it is medically probable that Vachel Howard was under
   3
              the influence of and intoxicated by cocaine at the time of his death on June 4, 2012, and
   4
              this contributed to or led to his bizarre, agitated and violent behavior with police officers.
   5
              It is medically probable that the influence of this drug contributed to his confrontation
   6
   7          with officers that eventually led to his death.

   8   Report of Dr. Richard F. Clark dated 12/7/13 (“Clark Report”), attached as Ex. 5 to Decl. Yates,
   9   pp. 4-5. Dr. Eckstein provided an identical opinion:
  10
              6. The effects of a high level of cocaine intoxication in combination with a severely
  11
              diseased heart and the effects of excited delirium resulted in Mr. Howard's death. High
  12
              levels of cocaine intoxication can, in and of themselves, result in a lethal cardiac
  13
  14          dysrhythmia. However, high cocaine levels combined with near total occlusion of the

  15          right coronary artery in an already enlarged heart, combined with the effects of excited
  16          delirium proved to be lethal in this case.
  17
       Report of Dr. Marc Eckstein dated 12/10/13 (“Eckstein Report”), attached as Ex. 6 to Decl.
  18
       Yates, p. 5. See also Report of Oliver dated January 10, 2015 (“Oliver Report”), attached as Ex.
  19
  20   7 to Decl. Yates, p. 8-14.

  21          Allowing the unnecessary duplicative testimony will prolong the trial, waste the valuable

  22   time and resources of the Court and all other participants, while adding absolutely nothing new
  23
       to the evidence and adding no probative value to the case.
  24
                                           V.
  25   EXPERT OPINIONS ON THE ULTIMATE ISSUES OF THE REASONABLENESS OF THE
       USE OF FORCE AND COCAINE INDUCED BEHAVIOR PROVOKED POLICE OFFICERS
  26           DO NOT ASSIST THE TRIER OF FACT AND ARE A WASTE OF TIME
  27
  28


                                                  -14-
        PLAINTIFFS’ NOTICE OF JOINT MOTION AND JOINT MOTION IN LIMINE NO. 2 TO EXCLUDE IMPROPER
                                           EXPERT TESTIMONY
Case 2:13-cv-01847-SJO-JEM Document 169 Filed 08/18/15 Page 15 of 17 Page ID
                                 #:2474




   1          Plaintiff contends that the issue of reasonableness of the use of force in this case has been

   2   decided in an administrative adjudication that was not appealed and, therefore, the finding is
   3
       issue preclusive. See Plaintiff Irma Howard’s Opposition To Defendants’ Motion For Summary
   4
       Judgment And Joinder In The Opposition Filed By Tushana Howard, Et Al (Document 143), pp.
   5
       10-11. In addition, Plaintiff maintains that the report of Chief Beck and the decision of the Board
   6
   7   of Police Commissioners is an admission of a party opponent as to the unreasonableness of the

   8   use of force. See Id at p. 12, ll. 4-8. However, if the findings of Chief Beck and the
   9   Commissioners are not given some preclusive or evidentiary effect, the issue of reasonableness
  10
       of the use of force is an issue of fact for the jury to decide and expert opinion on the subject
  11
       would impermissibly confuse the jury. Therefore, expert opinion as to the reasonableness of the
  12
       use of force should be precluded.
  13
  14          Whether or not Officer Romero’s use of deadly force was reasonable is an ultimate issue

  15   in this case. As an ultimate issue, this Court must be careful not to allow an invasion into the
  16   province of the jury. Although Fed. R. Ev. 704 permits testimony on ultimate issues, the advisory
  17
       committee notes to Rule 704 state, in pertinent part:
  18
              [t]he abolition of the ultimate issue rule does not lower the bar so as to admit all
  19
              opinions. Under Rules 701 and 702, opinions must be helpful to the trier of fact, and
  20
              Rule 403 provides for exclusion of evidence which wastes time. These provisions
  21
              afford ample assurances against the admission of opinions which would merely tell the
  22
              jury what result to reach, somewhat in the manner of the oath-helpers of an earlier
  23
              day. They also stand ready to exclude opinions phrased in terms of inadequately
  24
              explored legal criteria...
  25
  26
       F.R.E. 704, Advisory Committee Notes.
  27
  28


                                                  -15-
        PLAINTIFFS’ NOTICE OF JOINT MOTION AND JOINT MOTION IN LIMINE NO. 2 TO EXCLUDE IMPROPER
                                           EXPERT TESTIMONY
Case 2:13-cv-01847-SJO-JEM Document 169 Filed 08/18/15 Page 16 of 17 Page ID
                                 #:2475




   1          It is expected that Robert Fonzi will testify that the use of force in this case was

   2   reasonable. It is for the jury, and not for Mr. Fonzi, to make credibility determinations and to

   3   decide which set of facts it believes. See United States v. Barnard, 490 F. 2d 907, 912-13 (9th

   4   Cir. 1973) ("Credibility, however, is for the jury — the jury is the lie detector in the courtroom);

   5   Shahid v. City of Detroit, 889 F. 2d 1543 (6th Cir. 1989); McHugh v. United Serv. Auto. Ass'n,

   6   164 F.3d 451, 454 (9th Cir. 1999) ; United States v. Duncan, 42 F.3d 97, 101 (2nd Cir. 1994)

   7   ("When an expert undertakes to tell the jury what result to reach, this does not aid the jury in

   8   making a decision, but rather attempts to substitute the expert's judgment for the jury's.").

   9   Further, matters of law are "inappropriate subjects for expert testimony." Aguilar v. Int'l

  10   Longshoremen's Union Local No. 10, 966 F.2d 443, 447 (9th Cir.1992).

  11          Expert opinion testimony is admissible only if it "will assist the trier of fact to understand

  12   the evidence or to determine a fact in issue." Fed. R. Ev. 702. The only disputed issues at trial

  13   will be whether Officer Romero reasonably believed Vachel Howard constituted a deadly threat

  14   and reasonably used deadly force in response. It is for the jury to determine what facts were

  15   known to Romero at the time he used a chokehold on Vachel. None of Robert Fonzi’s testimony

  16   will assist the jury in this regard. Fonzi’s anticipated testimony involves only his views

  17   concerning the reasonableness of Officer Romero’s conduct based on hearsay information

  18   conveyed to him. Specifically, Fonzi is expected to simply communicate the opinion as to

  19   reasonableness that resulted in the District Attorney investigation. To that end, his testimony will

  20   not be a fact-based opinion, but a credibility determination and legal conclusion. The District

  21   Attorney’s opinion is not binding or preclusive in any way but is simply an improper and

  22   inadmissible opinion as to reasonableness under the Constitution. It is the jury’s job to determine

  23   reasonableness under the Constitution.

  24          Similarly, testimony that the effects of cocaine caused Vachel to behave in a manner that

  25   created the situation that led to Vachel’s death is unhelpful to the jury Specifically, Dr. Clark

  26   testified in his deposition that Vachel’s conduct contributed to his death:

  27
  28


                                                  -16-
        PLAINTIFFS’ NOTICE OF JOINT MOTION AND JOINT MOTION IN LIMINE NO. 2 TO EXCLUDE IMPROPER
                                           EXPERT TESTIMONY
Case 2:13-cv-01847-SJO-JEM Document 169 Filed 08/18/15 Page 17 of 17 Page ID
                                 #:2476




   1          A   Well, it did lead to his death. He died. And I would say, with a reasonable degree

   2          of medical possibility, that if it wasn't for the influence of cocaine, this whole

   3          interaction wouldn't have happened.

   4   See Dep. Clark 84:13-17. See also Dep. Clark 86:4-87:12; Clark Report, p. 5 (stating: It is

   5   medically probable that the influence of this drug contributed to his confrontation with officers

   6   that eventually led to his death.”). The testimony that Vachel’s conduct prompted a use of force

   7   from the involved officers is not something that requires expert testimony to understand and,

   8   thus, is unhelpful. The jury is fully capable of evaluating any contribution of Vachel Howard to

   9   his own death without the need for expert opinion.

  10          Plaintiff requests that testimony that does not assist the trier of fact be excluded.

  11                                                 VI.
                                                 CONCLUSION
  12
              Based on the above, it is respectfully requested that the Court exclude any and all
  13
       evidence, references to evidence, testimony or argument relating to expert opinions by non-
  14
       designated witnesses and employees, unqualified expert testimony, cumulative expert testimony
  15
       and testimony that would confuse the jury.
  16
              In the alternative, it is respectfully requested that the Court will conduct a hearing, prior
  17
       to the testimony of any expert or percipient witness expected to provide expert opinions, to
  18
       determine whether the proposed testimony was disclosed, the witness’ qualifications, and
  19
       whether the proposed testimony is unnecessarily cumulative.
  20
                                             Respectfully Submitted,
  21
                                             LAW OFFICES OF GREGORY A. YATES, P.C.
  22                                         16830 Ventura Blvd., # 250
                                             Encino, California 91436
  23                                         Tel: (310) 858-6933;
                                             Fax: (818) 905-7038
  24
  25                                                /s/
                                             By: __________________________
  26                                         Gregory A. Yates
                                             COUNSEL FOR PLAINTIFF IRMA HOWARD
  27
  28


                                                  -17-
        PLAINTIFFS’ NOTICE OF JOINT MOTION AND JOINT MOTION IN LIMINE NO. 2 TO EXCLUDE IMPROPER
                                           EXPERT TESTIMONY
